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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



In re Terrorist Attacks on September 11, 2001      03 MDL 1570 (GBD)(SN)



This document relates to:

Nicole Amato, et al. v. Islamic Republic of Iran, No. 1:21-cv-10239 (GBD) (SN)

                   MOTION TO SUBSTITUTE PARTIES PURSUANT TO
                     FEDERAL RULE OF CIVIL PROCEDURE 15(d)

        Pursuant to Federal Rules of Civil Procedure 15(d), Plaintiffs herein move the Court to

allow substitution of the party as identified on Exhibit A in the above referenced action. The

individual being substituted into the case is the Personal Representative of an individual killed as

a result of the terrorist attacks on September 11, 2001 (a “9/11 decedent”) or is the Personal

Representative for a family member of a 9/11 decedent.

        Exhibit A identifies the individuals to be substituted in the pleading, including the

capacity in which they seek to be substituted, state of residency at the time the complaint was

filed, the existing pleading that refers to the plaintiff, and the decedent of which the plaintiff is

the Personal Representative.

        Plaintiffs propose that, upon endorsement of Plaintiffs’ Proposed Order, the substituted

parties be individually entered as a Plaintiff into the Court’s ECF system to ease the burden on

the Clerk of the Court’s Office and the size of this MDL.




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Dated: July 14, 2022

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                          EXHIBIT A to Amato Motion to Substitute Parties

                                                                      State of
                                                                    Residency of
      Previous Personal
                            Case          Substitute Personal       Substituted 9/11 Decedent’s
      Representative or
                           Number:         Representative:           Personal        Name:
          Plaintiff:
                                                                   Representative
                                                                     at Filing:
1.                                      Elizabeth Trerotola as
      Michael Trerotola,                Personal Representative
      individually, as                  of the Estate of Michael
                          1:21-cv-10239                                 NJ      Lisa Trerotola
      surviving spouse of               Trerotola, deceased, the
      Lisa Trerotola                    late spouse of Lisa
                                        Trerotola




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